          Case 1:21-cr-00225-DLF Document 48 Filed 06/14/22 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
UNITED STATES OF AMERICA,              )
                                       )
v.                                     )   Case No. 1:21-cr-00225-DLF
                                       )
TRENISS JEWELL EVANS III,              )
                                       )
      Defendant.                       )
______________________________________ )


                   MOTION FOR SUBSTITUTION OF COUNSEL


       Defendant Treniss Jewell Evan III, by and through the undersigned retained counsel,

and pursuant to Local Rule 44.5 of the Criminal Rules of Procedure for the Federal District

Court of the District of Columbia, hereby respectfully requests this Court Order the

substitution of John M. Pierce, attorney at law, with the undersigned retained counsel.

       The undersigned submits that the substitution of counsel will not unnecessarily

delay this matter or be unfairly prejudicial to any party, or otherwise not be in the interests

of justice.

Date: June 14, 2022                        Respectfully Submitted,

                                           /s/ Steven Alan Metcalf II
                                           _______________________________
                                           STEVEN A. METCALF II, ESQ.
                                           Metcalf & Metcalf, P.C.
                                           99 Park Avenue, 6thFlr.
                                           New York, NY 10016
                                           (Office) 646.253.0514
                                           (Fax) 646.219.2012

                                           Counsel for Defendant Treniss Jewell Evans III

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v.                                     ) Case No. 1:21-cr-00225-DLF
                                       )
TRENISS JEWELL EVANS III,              )
                                       )
                 Defendant.            )
______________________________________ )


                              CERTIFICATE OF SERVICE
       On June 14, 2022, the undersigned hereby certifies that a true and correct copy of

the foregoing was electronically filed and served via the CM/ECF system, which will

automatically send electronic notification of such filing to all registered parties.

       In addition, the undersigned will mail a copy of the foregoing motion to Defendant

Treniss Jewell Evans III, whom the undersigned has specifically consulted in the filing of

this motion, consistent with the requirements of Local Rule 44.5(d) of the Criminal Rules

of Procedure for the Federal District Court of the District of Columbia.


                                           /s/ Steven Alan Metcalf II
                                           _______________________________
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                                           New York, NY 10016
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                                           Counsel for Defendant Treniss Jewell Evans III




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